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Your honorable Judge Amit Mehta
District of Columbia
District court judge .

Your Honor,

| have known Mike Daniele for approximately a decade,

We spoke online, We met when | was broke down the side of the road,

Not knowing who | was, he stopped, offered to help and stayed until | was moving again.
From that single act of kindness our friendship developed.

| know, Mike to be a man of his word,

Sadly, nowadays, it’s not easy to find somebody whose word is their bond.

Michael, will call me sometimes once a week just to make sure I’m OK on the road,

Kind of guy where | was down in the middle of nowhere he would be there for me.

| believe that.

He’s also The next-door ineighbor id like living next to my family.

| would literally give him the keys to my house to check on things while I’m gone.

Matter of fact, when Mike travels to Florida, he knows I've always extended a welcome to use my home
whether !’m there or not.

Me and Mike have exchanged many customers to try and help each other route goes smoother.
| have no problem with Mike around my clients, my family, my friends.

He’s one of the good ones .

lf 1 may be of any help?
Feel free to contact me.
Joseph Cutrone
9545019350

EXHIBIT
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